           Case 1:13-cv-01793-ESH Document 1 Filed 11/15/13 Page 1 of 5



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
________________________________________________________________________
LASHAWN MICHELLE MINOR           :
      TH
4029 9 Street NE #3              :     Case No. 13-CV-1793
Washington, D.C. 20017           :
                                 :     Assigned to:
      Plaintiff                  :
                                 :     JURY TRIAL DEMANDED
             v.                  :
                                 :     removed from the Superior Court
LABORATORY CORPORATION           :     for the District of Columbia, Civil
OF AMERCIA                       :     Division, Case No. 2013CA006600
1447 York Court                  :
Burlington, NC 27215             :
                                 :
      Defendant                  :
________________________________________________________________________

        DEFENDANT LABORATORY CORPORATION OF AMERICA’S
                      NOTICE OF REMOVAL

      PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,

Defendant Laboratory Corporation of America (“LabCorp”) hereby gives notice that the

above-captioned action pending in the Superior Court for the District of Columbia is

hereby removed to the United States District Court for the District of Columbia. In

support of removal, LabCorp respectfully states the following:

                            GROUNDS FOR REMOVAL

I.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED.

      1.      On or about September 27, 2013, Lashawn Michelle Minor (“Plaintiff”)

filed this action entitled Minor v. Laboratory Corporation of America, Case No. 2013-

CA-006600 M, in the Superior Court for the District of Columbia.
              Case 1:13-cv-01793-ESH Document 1 Filed 11/15/13 Page 2 of 5



         2.      LabCorp was served with a copy of the Summons and Complaint pursuant

to D.C. Civil Rule 4(c)(4) on October 29, 2013. Accordingly, this Notice of Removal is

timely filed pursuant to 28 U.S.C. § 1446(b).

         3.      No further proceedings have been had in this action.

         4.      No previous application has been made for the relief requested herein.

         5.      Removal to this Court is proper because it is “the district and division

embracing the place where such action is pending.” See 28 U.S.C. § 1441(a). Therefore,

this action is properly removed to the U.S. District Court for the District of Columbia

pursuant to 28 U.S.C. § 88.

         6.      Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and

orders served upon LabCorp, which include the Summons and Complaint, are attached

hereto collectively as Exhibit 1.

         7.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

served upon the Plaintiff and a copy is being filed with the Clerk of the Superior Court

for the District of Columbia.

         8.      A copy of the civil cover sheet is attached hereto as Exhibit 2.

         9.      If any question arises regarding the propriety of the removal of this action,

LabCorp respectfully requests the opportunity to present briefing and/or oral argument in

support of their position that this case is removable.




7271524-v1                                      2
             Case 1:13-cv-01793-ESH Document 1 Filed 11/15/13 Page 3 of 5



II.      REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT
         MATTER JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND 1441.

         10.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

because this is a civil action between citizens of different states in which the amount in

controversy exceeds the sum of $75,000, exclusive of costs and interest.

                A.    There is complete diversity between the parties.

         11.    Plaintiff is now, and was at the time of the filing of the Complaint, a

resident of the District of Columbia. (See Complaint.) Accordingly, LabCorp avers that

Plaintiff is now, and was at the time of the filing of this action, a resident, and therefore a

domiciliary and citizen, of the District of Columbia. See State Farm Mut. Auto. Ins. Co.

v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994)) (A party’s residence is “prima facie”

evidence of citizenship.); Weiner v. Zeneca Pharm. Found., 1999 WL 342247, * 2

(E.D.N.Y. May 14, 1999) (residence at the time a lawsuit is filed is prima facie evidence

of an individual’s citizenship) (citations omitted); Willis v. Westin Hotel Co., 651 F.Supp.

598, 601 (S.D.N.Y. 1986) (citing District of Columbia v. Murphy, 314 U.S. 441, 455

(1941) (the place where a person lives is properly taken to be that person’s domicile until

established to the contrary)).

         12.    LabCorp is now, and was at the time Plaintiff commenced this action, a

corporation organized under the laws of the State of Delaware with its principal place of

business in North Carolina and, therefore, is a citizen of Delaware and North Carolina for

purposes of determining diversity. 28 U.S.C. § 1332(c)(1).




7271524-v1                                    3
             Case 1:13-cv-01793-ESH Document 1 Filed 11/15/13 Page 4 of 5



         13.    Hence, there is complete diversity between the plaintiff and defendant in

this case, and this Court has subject matter jurisdiction under 28 U.S.C. § 1332.

         14.    In addition, no defendant is a citizen of the state in which this action was

brought.

                B.     The amount in controversy requirement is satisfied.

         15.    It is apparent from the face of the Complaint that Plaintiff seeks recovery of

an amount in excess of $75,000, exclusive of interest and costs.            Indeed, Plaintiff

demands judgment against LabCorp in the sum of $500,000.00. (See Complaint.) Thus,

Plaintiff’s claim for damages exceeds this Court’s minimum $75,000 jurisdictional limit.

28 U.S.C. § 1332(a).

         WHEREFORE, Defendant LabCorp respectfully removes this action from the

Superior Court for the District of Columbia to this Court pursuant to 28 U.S.C. § 1441.

DATED: November 15, 2013                    Respectfully submitted,



                                            /s/ Bruce R. Parker
                                            Bruce R. Parker (Bar No. 437418)
                                            VENABLE LLP
                                            750 E. Pratt Street, Suite 900
                                            Baltimore, Maryland 21202
                                            brparker@venable.com
                                            (410) 244-7400
                                            (410) 244-7742 (fax)

                                            Attorney for Laboratory Corporation of
                                            America




7271524-v1                                     4
             Case 1:13-cv-01793-ESH Document 1 Filed 11/15/13 Page 5 of 5



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1447 York Court                  :
Burlington, NC 27215             :
                                 :
      Defendant                  :
________________________________________________________________________

                            CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on the 15th day of November, 2013, I filed the

foregoing Notice of Removal with the Clerk of the Court.

         I FURTHER CERTIFY that on the 15th day of November, 2013, a copy of the

foregoing Notice of Removal was sent by mail, first-class, postage prepaid, to:

         LASHAWN MICHELLE MINOR
         4029 9TH Street NE #3
         Washington, D.C. 20017

         Pro se Plaintiff



                                          /s/ Bruce R. Parker
                                          Bruce R. Parker




7271524-v1                                  5
